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                                                        United States District Court
                                                        Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.            ED CR 20-00162-ODW-1

 Defendant           Anuj Mahendrabhai Patel                                 Social Security No. 4         9   4   7
 akas:   Mike also known as Indio                                            (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH   DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.     March    2    2022

  COUNSEL                                                              Diane C. Bass, retained
                                                                            (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO            NOT
                                                                                                               CONTENDERE        GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Count 1: 18:1349:Conspiracy to Commit Mail Fraud and Wire Fraud
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of:
                     108 months on Count 1 of the Indictment.

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than
$25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

It is ordered that the defendant shall pay restitution in the total amount of $490,500 pursuant to 18 U.S.C. § 3663A.

The amount of restitution ordered shall be paid as follows:

         Victim                                   Amount

                        S.S.                                                             $40,000.00
                        D.D.                                                             $60,000.00
                        R.W.                                                             $30,000.00
                        M.T.                                                             $19,500.00
                        C.A.                                                             $11,000.00
                        P.D.                                                             $25,000.00
                        N.R.                                                             $40,000.00
                        C.F.                                                             $14,000.00
                        J.S.                                                             $10,000.00
                        W.H.                                                             $23,000.00
                        M.S.                                                             $60,000.00
                        A.F.                                                             $45,000.00
                        T.R.                                                             $10,000.00
                        R.G.                                                             $30,000.00
                        G.L.                                                             $30,000.00
                        J.S.                                                             $40,000.00
                        G.H.                                                              $3,000.00


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Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate
Financial Responsibility Program. If any amount of the restitution remains unpaid after release from custody, nominal monthly payments of at least
10% of defendant’s gross monthly income but not less than $750, whichever is greater, shall be made during the period of supervised release and
shall begin 90 days after commencement of supervision.

The defendant shall be held jointly and severally liable with co-defendants, Elmer Miranda Barrios and William Margarito Barrios, for the amount
of restitution ordered in this judgment to the extent and for the amount that said co-defendants are determined liable for the same victim losses. The
victims' recovery is limited to the amount of their loss and the defendant's liability for restitution ceases if, and when, the victims receive full
restitution.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have the ability to pay interest.
In addition to the principal. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

The defendant shall comply with Second Amended General Order No. 20-04.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established an inability to pay any fine.

The Court has entered a money judgment of forfeiture against the defendant, which is hereby incorporated by reference into this judgment and is
final.


Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years under the following terms and
conditions:


         1.          The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services Office and Second
                     Amended General Order 20-04.


          2.         During the period of community supervision, the defendant shall pay the special assessment and restitution in accordance with
                     this judgment's orders pertaining to such payment.



         3.          The defendant shall not obtain or possess any driver's license, Social Security number, birth certificate, passport or any other form
                     of identification in any name, other than the defendant's true legal name, nor shall the defendant use, any name other than the
                     defendant's true legal name without the prior written approval of the Probation Officer.

         4.          The defendant shall not engage, as whole or partial owner, employee or otherwise, in any business involving loan programs,
                     telemarketing activities, investment programs or any other business involving the solicitation of funds or cold-calls to customers
                     without the express approval of the Probation Officer prior to engaging in such employment. Further, the defendant shall provide
                     the Probation Officer with access to any and all business records, client lists, and other records pertaining to the operation of any
                     business owned, in whole or in part, by the defendant, as directed by the Probation Officer.

         5.          The defendant shall cooperate in the collection of a DNA sample from himself.


         6.          The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance, judgments and any other
                     financial gains to the Court-ordered financial obligation.


         7.          The defendant shall submit the defendant's person, property, house, residence, vehicle, papers, computers, cell phones, other
                     electronic communications or data storage devices or media, email accounts, social media accounts, cloud storage accounts, or
                     other areas under the defendant's control, to a search conducted by a United States Probation Officer or law enforcement officer.
                     Failure to submit to a search may be grounds for revocation. The defendant shall warn any other occupants that the premises may
                     be subject to searches pursuant to this condition. Any search pursuant to this condition will be conducted at a reasonable time and
                     in a reasonable manner upon reasonable suspicion that the defendant has violated a condition of his supervision and that the areas
                     to be searched contain evidence of this violation.


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         Pursuant to 18 U.S.C. § 3553(a), the Court shall impose a sentence sufficient, but not greater than necessary, to comply with the purposes
         set forth in paragraph (2) of this subsection. The Court, in determining the particular sentence to be imposed, shall consider -

         The Court recommends defendant to participate in the 500-hour RDAP.

         The Court recommends defendant to be housed in a Southern California facility.
         The nature and circumstances of the offense and the history and characteristics of the defendant;
         2.     The need for the sentence imposed --
                a.      To reflect the seriousness of the offense; to promote respect for the law, and to provide just
         punishment for the offense;
                b.      To afford adequate deterrence to future criminal conduct;
                c.      To protect the public from further crimes of the defendant; and
                d.      To provide the defendant with needed educational correctional treatment in the most effective
         manner.
         3.     The kinds of sentences available;
         4.     The guideline sentencing range;
         5.     The need to avoid unwarranted sentence disparities among defendants with similar records who have been
         found guilty of similar conduct.
         6.          The need to provide restitution to any victims of the offense.

           In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation
           and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend
           the period of supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue
           a warrant and revoke supervision for a violation occurring during the supervision period.




                       March 2, 2022
                       Date                                                     U. S. District Judge

           It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified
           officer.

                                                                                Clerk, U.S. District Court



                       March 2, 2022                            By              Sheila English /s/
                       Filed Date                                               Deputy Clerk



           The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                     STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                     While the defendant is on probation or supervised release pursuant to this judgment:




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           1.     The defendant must not commit another federal, state, or           9.    The defendant must not knowingly associate with any persons
                  local crime;                                                             engaged in criminal activity and must not knowingly associate
           2.     The defendant must report to the probation office in the                 with any person convicted of a felony unless granted
                  federal judicial district of residence within 72 hours of                permission to do so by the probation officer. This condition
                  imposition of a sentence of probation or release from                    will not apply to intimate family members, unless the court
                  imprisonment, unless otherwise directed by the probation                 has completed an individualized review and has determined
                  officer;                                                                 that the restriction is necessary for protection of the
           3.     The defendant must report to the probation office as                     community or rehabilitation;
                  instructed by the court or probation officer;                      10.   The defendant must refrain from excessive use of alcohol and
           4.     The defendant must not knowingly leave the judicial                      must not purchase, possess, use, distribute, or administer any
                  district without first receiving the permission of the court             narcotic or other controlled substance, or any paraphernalia
                  or probation officer;                                                    related to such substances, except as prescribed by a
           5.     The defendant must answer truthfully the inquiries of the                physician;
                  probation officer, unless legitimately asserting his or her        11.   The defendant must notify the probation officer within 72
                  Fifth Amendment right against self-incrimination as to                   hours of being arrested or questioned by a law enforcement
                  new criminal conduct;                                                    officer;
           6.     The defendant must reside at a location approved by the            12.   For felony cases, the defendant must not possess a firearm,
                  probation officer and must notify the probation officer at               ammunition, destructive device, or any other dangerous
                  least 10 days before any anticipated change or within 72                 weapon;
                  hours of an unanticipated change in residence or persons           13.   The defendant must not act or enter into any agreement with
                  living in defendant’s residence;                                         a law enforcement agency to act as an informant or source
           7.     The defendant must permit the probation officer to                       without the permission of the court;
                  contact him or her at any time at home or elsewhere and            14.   The defendant must follow the instructions of the probation
                  must permit confiscation of any contraband prohibited by                 officer to implement the orders of the court, afford adequate
                  law or the terms of supervision and observed in plain                    deterrence from criminal conduct, protect the public from
                  view by the probation officer;                                           further crimes of the defendant; and provide the defendant
           8.     The defendant must work at a lawful occupation unless                    with needed educational or vocational training, medical care,
                  excused by the probation officer for schooling, training,                or other correctional treatment in the most effective manner.
                  or other acceptable reasons and must notify the probation
                  officer at least ten days before any change in
                  employment or within 72 hours of an unanticipated
                  change;




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             The defendant must also comply with the following special conditions (set forth below).

             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

                     The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the
           fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1).
           Payments may be subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to
           restitution, however, are not applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and
           costs must be paid by certified check or money order made payable to “Clerk, U.S. District Court.” Each certified check or money
           order must include the case name and number. Payments must be delivered to:

                     United States District Court, Central District of California
                     Attn: Fiscal Department
                     255 East Temple Street, Room 1178
                     Los Angeles, CA 90012

           or such other address as the Court may in future direct.

                    If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must
           pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

                    The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing
           address or residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

                     The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change
           in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18
           U.S.C. § 3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or
           that of a party or the victim, adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. §
           3572(d)(3) and for probation 18 U.S.C. § 3563(a)(7).

                     Payments will be applied in the following order:

                              1. Special assessments under 18 U.S.C. § 3013;
                              2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                                States is paid):
                                        Non-federal victims (individual and corporate),
                                        Providers of compensation to non-federal victims,
                                        The United States as victim;
                              3. Fine;
                              4. Community restitution, under 18 U.S.C. § 3663(c); and
                              5. Other penalties and costs.

                 CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS


                     As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing
           credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate
           financial statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the
           defendant must not apply for any loan or open any line of credit without prior approval of the Probation Officer.

                     When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to
           the Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including
           any business or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the
           Probation Office in advance of opening a new account or modifying or closing an existing one, including adding or deleting
           signatories; changing the account number or name, address, or other identifying information affiliated with the account; or any
           other modification. If the Probation Office approves the new account, modification or closing, the defendant must give the
           Probation Officer all related account records within 10 days of opening, modifying or closing the account. The defendant must not
           direct or ask anyone else to open or maintain any account on the defendant’s behalf.

                    The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
           without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                     These conditions are in addition to any other conditions imposed by this judgment.




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                                                                             RETURN

            I have executed the within Judgment and Commitment as follows:
            Defendant delivered on                                                             to
            Defendant noted on appeal on
            Defendant released on
            Mandate issued on
            Defendant’s appeal
            determined on
            Defendant delivered on                                                             to
      at
                 the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                                United States Marshal


                                                                 By
                       Date                                                     Deputy Marshal



                                                                        CERTIFICATE

            I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office,
            and in my legal custody.

                                                                                Clerk, U.S. District Court


                                                                 By
                       Filed Date                                               Deputy Clerk




                                                       FOR U.S. PROBATION OFFICE USE ONLY


           Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
           term of supervision, and/or (3) modify the conditions of supervision.

                     These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


                     (Signed)
                                Defendant                                                      Date



                                U. S. Probation Officer/Designated Witness                     Date




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